                                               United States Bankruptcy Court
                                                    District of Oregon
In re:                                                                                                     Case No. 15-35133-rld
Elbert G Garboden                                                                                          Chapter 7
Sherry L Garboden
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0979-3                  User: Admin.                       Page 1 of 1                          Date Rcvd: Jan 10, 2017
                                      Form ID: DTC                       Total Noticed: 22

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 12, 2017.
db/jdb         +Elbert G Garboden,    Sherry L Garboden,    16102 NE San Rafael,   Portland, OR 97230-5254
cr             +CitiMortgage, Inc.,    C/O ALDRIDGE PITE, LLP,    4375 Jutland Drive, Suite 200,
                 P.O. Box 17933,     San Diego, CA 92177-7921
cr             +Wells Fargo Bank N.A. dba Wells Fargo Dealer Servi,     P.O. Box 3569,
                 Rancho Cucamonga, CA 91729-3569
101096465       Bank of America,    PO Box 650070,   Dallas, TX 75265-0070
101096466       Bank of America,    PO Box 851001,   Dallas, TX 75285-1001
101096470     ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Home Depot Credit Services,      PO Box 78011,
                 Phoenix, AZ 85062-8011)
101096468       Citi Mortgage,   PO Box 689196,    Des Moines, IA 50368-9196
101207401      +Credit First NA,    PO Box 818011,   Cleveland, OH 44181-8011
101096469       Firestone/Credit First NA,    PO Box 81344,    Cleveland, OH 44188-0344
101224674      +Wells Fargo Card Services,    1 Home Campus 3rd Floor,    Des Moines, IA 50328-0001
101096476       Wells Fargo Card Services,    PO Box 30086,    Los Angeles, CA 90030-0086
101096477       Wells Fargo Dealer Services,    PO Box 25341,    Santa Ana, CA 92799-5341

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: ZyCredit.A.User@lesschwab.com Jan 11 2017 02:00:54
                 Les Schwab Tire Centers of Portland Inc,   POB 5350,   Bend, OR 97708-5350
101096467       E-mail/PDF: gecsedi@recoverycorp.com Jan 11 2017 01:47:27      Chevron/Synchrony Bank,
                 PO Box 530950,   Atlanta, GA 30353-0950
101096471       E-mail/Text: cio.bncmail@irs.gov Jan 11 2017 02:00:22      Internal Revenue Service,
                 PO Box 7346,   Philadelphia, PA 19101-7346
101096472      +E-mail/Text: ZyCredit.A.User@lesschwab.com Jan 11 2017 02:00:54      Les Schwab,   PO Box 5350,
                 Bend, OR 97708-5350
101096473      +E-mail/Text: bankruptcy.revenue@oregon.gov Jan 11 2017 02:00:13      ODR,
                 955 Center Street, NE Room 353,   Attn: Bankruptcy Unit,    Salem, OR 97301-2555
101096474       E-mail/Text: bankruptcy@onpointcu.com Jan 11 2017 02:01:22      OnPoint Community Credit Union,
                 PO Box 3750,   Portland, OR 97208
101225533       E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jan 11 2017 01:56:58
                 Portfolio Recovery Associates, LLC,   c/o 76 Personal Credit Card,    POB 41067,
                 Norfolk VA 23541
101225512       E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Jan 11 2017 01:56:26
                 Portfolio Recovery Associates, LLC,   c/o Chevron And Texaco Credit Card,    POB 41067,
                 Norfolk VA 23541
101169368      +E-mail/PDF: resurgentbknotifications@resurgent.com Jan 11 2017 01:47:49      PYOD LLC,
                 c/o Resurgent Capital Services,   PO Box 19008,   Greenville, SC 29602-9008
101096475       E-mail/PDF: gecsedi@recoverycorp.com Jan 11 2017 01:47:47      Phillips 66 Co/SYNCB,
                 PO Box 530942,   Atlanta, GA 30353-0942
                                                                                             TOTAL: 10

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 12, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 10, 2017 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0


                                      Case 15-35133-rld7              Doc 47       Filed 01/12/17
DTC (3/5/09) ljr                 UNITED STATES BANKRUPTCY COURT                      U.S. BANKRUPTCY COURT
                                          District of Oregon                          DISTRICT OF OREGON
                                                                                             FILED
In re                                            )
 Elbert G Garboden                               ) Case No. 15−35133−rld7                January 10, 2017
 Sherry L Garboden                               )                                  Clerk, U.S. Bankruptcy Court
Debtor(s)                                        ) ORDER DISCHARGING
                                                 ) TRUSTEE AND                             BY ljr DEPUTY
                                                 ) CLOSING CASE
                                                 )
                                                 )


The trustee of the above debtor's estate, if one has been appointed, has:

  1. (If Chapter 7 case) either filed a report of no assets or reduced the property and effects of the debtor's
     estate to cash;

  2. Fully administered any estate funds and property on hand; and

  3. Performed all other and further duties required to date in the administration of said estate.

IT IS THEREFORE ORDERED that, if a trustee has been appointed, upon filing any final report or account
required by the UST, and without further court order, the trustee shall be discharged as the trustee of the
debtor's estate.

IT IS FURTHER ORDERED that this case is closed; the case will be closed only for administrative
purposes if this case was dismissed; and the court shall retain jurisdiction over any adversary proceeding
pending at the time of closure.

                                                                                Clerk, U.S. Bankruptcy Court




                            Case 15-35133-rld7        Doc 47      Filed 01/12/17
